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                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                           3:06CV292-02-MU
                            (3:00CR136-MU)



JOHN JERMAINE BECKHAM,        )
     Petitioner,              )
                              )
          v.                  )                 O R D E R
                              )
UNITED STATES OF AMERICA,     )
     Respondent.              )
______________________________)


     THIS MATTER is before the Court on the petitioner’s “Motion

to Vacate, Set Aside, Or Correct Sentence” under 28 U.S.C. §2255,

filed July 17, 2006.       For the reasons stated herein, the peti-

tioner’s Motion to Vacate will be dismissed as time-barred.

              I.   FACTUAL AND PROCEDURAL BACKGROUND

     According to the record underlying his criminal case, on

August 7, 2000, a Superceding Bill of Indictment was filed,

charging the petitioner (and five others) with conspiracy to

possess with intent to distribute in excess of 50 grams of co-

caine base, in violation of 21 U.S.C. §§841 and 846; and with

possession with intent to distribute in excess of five grams of

cocaine base, in violation of 21 U.S.C. §841(a)(1).                Thereafter,

on August 28, 2000, the government filed a Notice pursuant to 21

U.S.C. §§841 and 851, indicating that the petitioner previously

had sustained four drug convictions in North Carolina court; and

that it intended to seek an enhanced punishment if it obtained a



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conviction against the petitioner on either of the drug charges

which he then was facing.

     On December 19, 2000, the petitioner entered into a written

Plea Agreement with the government, whereby he agreed to plead

guilty to the conspiracy charge as set forth in the Indictment.

The terms of the petitioner’s Plea Agreement further stipulated

that his conviction exposed him to, inter alia, a maximum term of

life imprisonment; that the amount of cocaine base for which he

could be held accountable was at least 150 but less than 500

grams; that the corresponding offense level for such quantity was

34; and that the petitioner had, in fact, previously been convic-

ted of the Sale and Delivery of cocaine in the Superior Court of

Mecklenburg County.

     On January 5, 2001, the petitioner appeared before the Court

and tendered his guilty plea to the conspiracy charge.                 On that

occasion, the Court engaged the petitioner in a lengthy colloquy

to ensure that his guilty plea was being intelligently and

voluntarily tendered.      In response to the Court’s numerous

questions, the petitioner swore, inter alia, that he had fully

discussed his case with his attorney; that he understood the

charges and penalties which he was facing, particularly as they

were explained by the Court and by his attorney; and that he and

counsel had fully discussed any defenses he might have had to the

subject charges.


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     In addition, the petitioner advised the Court that no one

had threatened, intimidated, or forced him into pleading guilty,

and no one had made him any promises of leniency in order to

induce his plea.     On the contrary, the petitioner told the Court

that he was tendering his pleas because he, in fact, was guilty

of the subject offense.       The petitioner also swore that he was

satisfied with his attorney’s services. In fact, the petitioner

told the Court that counsel’s “services were excellent.”                  Thus,

after hearing the petitioner’s answers to each of its questions,

the Court accepted his guilty plea.

     Following that Hearing, the petitioner was able to convince

the Court to release him on bond pending the resolution of his

case.   However, that bond subsequently was revoked and he was

returned to jail after he violated the conditions of his release.

In particular, the petitioner tested positive for drug use on

four occasions; he sustained new State court charges for assault

and battery and misdemeanor breaking and entering; he admitted to

having sold marijuana while on release; and he fled to the State

of Florida, thereby absconding this Court’s supervision.

     Next, on March 19, 2003, the Court finally was able to hold

the petitioner’s Factual Basis & Sentencing Hearing.                 During that

Hearing, the petitioner apologized for his behavior and conceded

that although he had begun to cooperate with authorities, every-

thing went “downhill” once he began drinking.            At the conclusion


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of that Hearing, the Court sentenced the petitioner to a term of

300 months imprisonment.       The Court’s Judgment was entered on

April 4, 2003.

     The record further shows that the petitioner did not im-

mediately give a notice of appeal.         Rather, after delaying nearly

three years, on January 17, 2006, the petitioner filed a document

captioned as a “Notice of Appeal Nunc Pro Tunc” in his criminal

case.   According to the Affidavit which the petitioner submitted

along with his Notice, he essentially asserts that he had been

“lead to believe” that an appeal had been filed; and that it was

not until he failed to receive correspondence from his attorney

that he inquired into the matter and discovered that no appeal

had been filed.     On January 20, 2006, the petitioner’s Notice was

transmitted to the Fourth Circuit Court of Appeals.

     Thereafter, on February 6, 2006, the appellate Court direct-

ed both parties to file documents addressing the issue of the

timeliness of the petitioner’s appeal in light of Rule 4(b) of

the Federal Rules of Appellate Procedure.           To that end, on Febru-

ary 22, 2006, the government filed a motion to dismiss the

petitioner’s appeal, arguing that it was untimely filed.                      On

April 28, 2006, the Court of Appeals granted the government’s

Motion to Dismiss on the ground that the petitioner’s appeal was

not timely filed.

     Undaunted by that conclusion, the petitioner now has return-



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ed to this Court with the instant Motion to Vacate.                  Apart from

his claims, the petitioner obviously has recognized that his

Motion to Vacate likely would be construed as time-barred; thus,

he set out in his Motion to establish that his claims somehow

were timely presented as required by the Antiterrorism and Ef-

fective Death Penalty Act of 1996 (the “AEDPA” hereafter).

Specifically, the petitioner asserts that his Motion should be

construed as timely filed “because he actually is innocent of the

offense based on the issue[s] outlined in this Complaint [sic]

and memorandum” and the two exhibits which he submitted.

      However, it is clear on this record that the petitioner’s

explanations concerning the timeliness of his Motion are far from

compelling.      That is, the Court finds that despite his having

been given an opportunity to do so,1            the petitioner has failed

to articulate a proper basis for extending the applicable limita-

tions period.       Likewise, the petitioner has failed to articulate

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       In January 2002, the Fourth Circuit Court of Appeals decided the case
of Hill v. Braxton, 277 F.3d 701, 706 (4 th Cir. 2002). There, the Court
concluded that “when a federal habeas court, prior to trial, perceives a pro-
se [petition or motion to vacate] to be untimely and the state has not filed a
motion to dismiss based upon the one-year limitations period, the [district]
court must warn the petitioner that the case is subject to dismissal . . .
absent a sufficient explanation.” Consistent with that requirement, in De-
cember 2004, the Administrative Office of the Courts modified the federal
motion to vacate forms to comply with Hill. The new forms now include a
section which directs the petitioner to address the “timeliness of [his/her]
motion.” In particular, question 18 on the new form advises the petitioner
that if his/her conviction became final more than one year before the time
that the motion to vacate is being submitted, he/she “must explain why the
one-year statute of limitations as contained in 28 U.S.C. §2255 [also set
forth on the form] does not bar [such] motion.” Accordingly, given the fact
that the petitioner has attempted to address the timeliness of his Motion to
Vacate–-albeit unsuccessfully–-the Court concludes that he has been given
every opportunity to which he is entitled in this regard, and no further
warning is required for him.

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a reason why his April 2004 filing deadline should be equitably

tolled.    Therefore, the petitioner’s Motion to Vacate must be

dismissed as time-barred.

                                 II.   ANALYSIS

      As was noted on the petitioner’s Motion to Vacate form, in

1996 Congress enacted the “AEDPA”.           Among other things, the AEDPA

amended 28 U.S.C. §2255 by imposing a 1-year statute of limita-

tions period for the filing of a motion to vacate.                   The amendment

provides:

      A 1-year period of limitation shall apply to a motion under

this section.     The limitation period shall run from the latest

of–

      (1) the date on which the judgment of conviction
      becomes final;

      (2) the date on which the impediment to making a motion
      created by governmental action in violation of the
      Constitution or laws of the United States is removed,
      if the movant was prevented from making a motion by
      such governmental action;

      (3) the date on which the right asserted was initially
      recognized by the Supreme Court and made retroactively
      applicable to cases on collateral review; or

      (4) the date on which the facts supporting the claim or
      claims presented could have been discovered through the
      exercise of due diligence.

      Here, the record indicates that the petitioner’s conviction

and Judgment became final on or about April 14, 2003–-that is, at

the expiration of the 10-day period during which the petitioner

could have filed a notice of appeal.            Thus, the petitioner had up

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to and including April 14, 2004, in which to file the instant

Motion to Vacate.   Obviously, the petitioner did not file this

Motion by that deadline.

     Further, as has already been pointed out, the petitioner’s

assertions as to why this Motion should be construed as timely

filed simply are unavailing.       Indeed, his claim of actual

innocence as purportedly reflected in his Plea Agreement is dis-

ingenuous.   Likewise, the petitioner’s reliance upon the fact

that in December 2005, he wrote a letter to the Clerk of this

Court, inquiring about whether or not an appeal had been filed

also is not helpful.       To be sure, the petitioner has not even

attempted to argue (or to explain) why he could not have made

such an inquiry before the expiration of his one-year filing

deadline.

     Equally critically, the Court for its own part has concluded

that the petitioner cannot rely upon his untimely filed appeal to

somehow restart his one-year limitations period.                First, the

petitioner’s one-year limitations period already had expired at

the time that he filed his belated Notice of Appeal.                 Second,

such appeal ultimately was dismissed as untimely filed.                  There-

fore, the petitioner cannot be allowed to circumvent Congress’

intent to impose such a deadline by using this untimely filed

appeal to restart his limitations clock.          To put it simply, the

petitioner will not be permitted to manipulate his circumstances



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in order to use his untimely filed appeal to somehow breathe new

life into a limitations period which had expired long before he

attempted the appeal.

     Finally, the petitioner has failed to show the existence of

any “rare instances” which would make it unconscionable for this

Court to enforce the limitations period against him.                    Consequent-

ly, the time during which the petitioner delayed bringing this

Motion cannot be equitably tolled.          See     Rouse v. Lee, 339 F.3d

238, 246 (4th Cir. 2004) (en banc) (discussing the requirements

for equitable tolling), cert. denied, 125 S.Ct. 209 (2004); and

United States v. Sosa, 364 F.3d 507, 511-13 (4th Cir. 2004)

(same).

                             III.     CONCLUSION

     The AEDPA requires, among other things, that petitioners

seeking to bring Motions to Vacate under 28 U.S.C. §2255 do so

within the time limitations prescribed by that statute.                      Here,

the petitioner has failed to meet that requirement, and he has

failed to establish any other basis for construing his Motion as

timely filed.   Accordingly, the petitioner’s Motion to Vacate

shall be dismissed.

                                IV.    ORDER

     NOW, THEREFORE, IT IS HEREBY ORDERED that the instant Motion

to Vacate is DISMISSED as untimely filed.

     SO ORDERED.


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